            Case 1:22-cr-00267-JLT-SKO Document 47 Filed 12/09/22 Page 1 of 2


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 5

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   United States of America
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 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 1:22-CR-00267-JLT-SKO
12                                Plaintiff,            STIPULATION TO VACATE STATUS
                                                        CONFERENCE RE: WESTCARE; ORDER
13                         v.
14   ANGEL SANCHEZ,
15                               Defendant.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

18 through defendant’s counsel of record, hereby stipulate as follows:

19          1.     By previous order, this matter was set for Status Conference on December 14, 2022, to

20 review the defendant’s progress at Westcare. The pretrial services office reports that the defendant has

21 performed well and has had no violations to date.

22          2.     By this stipulation, the parties now move to vacate the status conference set on December

23 14, 2022.

24          IT IS SO STIPULATED.

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      STIPULATION REGARDING EXCLUDABLE TIME             1
      PERIODS UNDER SPEEDY TRIAL ACT
          Case 1:22-cr-00267-JLT-SKO Document 47 Filed 12/09/22 Page 2 of 2

     Dated: December 9, 2022                       PHILLIP A. TALBERT
 1                                                 United States Attorney
 2
                                                   /s/ ANTONIO J. PATACA
 3                                                 ANTONIO J. PATACA
                                                   Assistant United States Attorney
 4

 5
     Dated: December 9, 2022                       /s/ PETER JONES
 6                                                 PETER JONES
 7                                                 Counsel for Defendant
                                                   ANGEL SANCHEZ
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                                             ORDER
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          IT IS SO ORDERED.
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15   DATED:           12/9/2022
                                             THE HONORABLE SHEILA K. OBERTO
16                                           UNITED STATES MAGISTRATE JUDGE

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     STIPULATION REGARDING EXCLUDABLE TIME     2
     PERIODS UNDER SPEEDY TRIAL ACT
